       Case 20-03662-5-SWH                             Doc 36 Filed 12/04/20 Entered 12/04/20 14:34:48                           Page 1 of 35




 Fill in this information to identify the case:

 Debtor name         Don Betos Tacos-Raleigh Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         20-03662-5
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 4, 2020                        X /s/ Bryan Flores
                                                                       Signature of individual signing on behalf of debtor

                                                                       Bryan Flores
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Don Betos Tacos-Raleigh Inc.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NORTH                                                                                    Check if this is an
                                                CAROLINA
 Case number (if known):         20-03662-5                                                                                                           amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ASSN Company                                                    Any & All Assets                                       Unknown                        $0.00                 Unknown
 Attn: Managing Agent
 PO Box 2576
 Springfield, IL 62708
 Capital One                                                     Credit Card                                                                                                $3,000.00
 Attn: Managing
 Agent
 PO Box 30285
 Salt Lake City, UT
 84130
 Chase                                                           Credit Card                                                                                                $3,500.00
 Attn: Managing
 Agent
 PO Box 15298
 Wilmington, DE
 19886
 First Data Merchant                                             Any & All Credit                                       Unknown                        $0.00                 Unknown
 Cash Advance                                                    Card Receivables
 Attn: Managing
 Agent
 4000 Coral Ridge Dr.
 Coral Springs, FL
 33065
 First Data Merchant                                             Credit card                                            Unknown                        $0.00                 Unknown
 Services, LLC                                                   receivables
 Attn: Managing
 Agent
 4000 Coral Ridge Dr.
 Coral Springs, FL
 33065
 Kapitus Servicing                                               Loan                                                                                                             $0.00
 Attn: Managing Agent
 2500 Wilson Blvd,
 Ste. 350
 Arlington, VA 22201




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Don Betos Tacos-Raleigh Inc.                                                                       Case number (if known)         20-03662-5
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 La Esquina Latina                                               Fees for services                                                                                          $2,000.00
 Inc.
 Attn: Managing Agent
 421 Chapanoke Rd
 Ste 158
 Raleigh, NC 27603
 LEAF Capital                                                    Cash Register                                          Unknown                        $0.00                 Unknown
 Funding, LLC
 Attn: Managing Agent
 8100 Sandpiper
 Circile, Ste 300
 Baltimore, MD 21236
 National Funding, Inc.                                          Any & All Assets                                    $85,738.51                        $0.00              $85,738.51
 Attn: Managing Agent
 9820 Towne Ctr Dr,
 Ste 200
 San Diego, CA 92121
 NC Dept. of Revenue                                             Sales & Use Taxes                                                                                        $42,089.16
 Attn: Bankruptcy Unit
 PO Box 1168
 Raleigh, NC
 27602-1168
 On Deck Capital                                                 Loan                                                                                                     $25,000.00
 Attn: Managing
 Agent
 901 N. Stuart St., Ste.
 700
 Arlington, VA 22203
 Rapid Advance                                                   Loan                                                                                                     $40,000.00
 Attn: Managing
 Agent
 4500 EastWest Hwy,
 6th Fl
 Bethesda, MD 20814
 US Foods, Inc.                                                  Any & All Assets                                       Unknown                        $0.00                 Unknown
 Attn: Managing
 Agent
 1500 NC Hwy 39
 Zebulon, NC 27597
 Vend Lease                                                      Cash register                                          Unknown                   Unknown                    Unknown
 Company
 Attn: Managing Agent
 8100 Sandpiper
 Circile, Ste 300
 Baltimore, MD 21236
 Wells Fargo                                                     Credit Card                                                                                                  $600.00
 Attn: Managing
 Agent
 101 N. Phillips Ave.
 Sioux Falls, SD
 57104



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Fill in this information to identify the case:

 Debtor name            Don Betos Tacos-Raleigh Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)               20-03662-5
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            71,552.15

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            71,552.15


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            85,738.51


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            42,089.16

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            74,100.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             201,927.67




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Don Betos Tacos-Raleigh Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         20-03662-5
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                              $4,000.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     BB&T                                                    Checking                        1121                                     $1,750.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $5,750.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Don Betos Tacos-Raleigh Inc.                                                     Case number (If known) 20-03662-5
                Name


        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used    Current value of
                                                      physical inventory         debtor's interest      for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           Raw Materials                              Weekly                               $2,000.00    Sale of Food                         $2,500.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                              $2,500.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used    Current value of
                                                                                 debtor's interest      for current value        debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office Furniture                                                                    $0.00                                           $100.00



 40.       Office fixtures

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
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 Debtor         Don Betos Tacos-Raleigh Inc.                                                  Case number (If known) 20-03662-5
                Name

           Office Fixtures                                                                  $0.00                                           $100.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Cameras                                                                          $0.00                                           $200.00


           Cash register                                                                    $0.00                                          Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                $400.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2004 Acura TL
                     Mileage:                                                               $0.00    N/A                                  $3,000.00


           47.2.     2008 Honda
                     Mileage: 120,000                                                       $0.00                                         $4,000.00


           47.3.     2011 Ford Van
                     Mileage: 190,313                                                       $0.00                                         $2,500.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Restaurant equipment                                                             $0.00                                       $53,402.15



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         Don Betos Tacos-Raleigh Inc.                                                 Case number (If known) 20-03662-5
                Name



 51.        Total of Part 8.                                                                                                     $62,902.15
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 4
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 Debtor          Don Betos Tacos-Raleigh Inc.                                                                        Case number (If known) 20-03662-5
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $5,750.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                 $2,500.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                               $400.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $62,902.15

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $71,552.15          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $71,552.15




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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Rev. 3/2016
                                                                  UNITED STATES BANKRUPTCY COURT
                                                                 EASTERN DISTRICT OF NORTH CAROLINA

 IN THE MATTER OF:                                                                                                     CASE NUMBER:
 Don Betos Tacos-Raleigh Inc.                                                                                          20-03662-5
             Debtor(s).


                                                           SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

         I,  Bryan Flores       , claim the following property as exempt pursuant to 11 U.S.C. § 522 and the laws of the State of North Carolina, and
nonbankruptcy Federal law: (Attach additional sheets if necessary).

           1. NCGS 1C-1601(a)(1) (NC Const., Article X, Section 2) REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT
(The exemption is not to exceed $35,000; however, an unmarried debtor who is 65 years of age or older is entitled to retain an aggregate interest in the
property not to exceed $60,000 in value so long as the property was previously owned by the debtor as a tenant by the entireties or as a joint tenant with
rights of survivorship and the former co-owner of the property is deceased, in which case the debtor must specify his/her age and the name of the former
co-owner, if a child use initials only, of the property below).

                                               Owner
                                               (D1)Debtor 1                                   Amount of
 Description of Property                Market (D2)Debtor 2 Mortgage Holder                   Mortgage                 Net       Value Claimed as Exempt
 and Address                             Value (J)Joint     or Lien Holder                      or Lien              Value Pursuant to NCGS 1C-1601(a)(1)
 -NONE-

 Debtor's Age:
 Name of former co-owner:

                                               VALUE OF REAL ESTATE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(1): $                                  0.00

            2. NCGS 1C-1601(a)(3) MOTOR VEHICLE (The exemption in one vehicle is not to exceed $3,500).

                                               Owner
                                               (D1)Debtor 1
 Model, Year                            Market (D2)Debtor 2                                   Amount of                Net       Value Claimed as Exempt
 Style of Auto                           Value (J)Joint     Lien Holder                           Lien               Value Pursuant to NCGS 1C-1601(a)(3)
 -NONE-

                                           VALUE OF MOTOR VEHICLE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(3): $                                    0.00

         3. NCGS 1C-1601(a)(4) (NC Const., Article X, Section 1) PERSONAL OR HOUSEHOLD GOODS (The debtor's aggregate interest is not to
exceed $5,000 plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents). The number of dependents for exemption
purposes is 0 .

                                                        Owner
                                                        (D1)Debtor 1                                                                    Claimed as Exempt
 Description                                     Market (D2)Debtor 2      Lien                            Amount                  Net    Pursuant to NCGS
 of Property                                      Value (J)Joint          Holder                           of Lien              Value        1C-1601(a)(4)
 -NONE-

                                                                     VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(4): $                           0.00

            4. NCGS 1C-1601(a)(5) TOOLS OF TRADE (The debtor's aggregate interest is not to exceed $2,000 in value).

                                               Owner
                                               (D1)Debtor 1
                                        Market (D2)Debtor 2 Lien                              Amount of                Net       Value Claimed as Exempt
 Description                             Value (J)Joint     Holder                                Lien               Value Pursuant to NCGS 1C-1601(a)(5)
 -NONE-

                                                                     VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(5): $                           0.00

            5. NCGS 1C-1601(a)(6) LIFE INSURANCE (NC Const., Article X, Section 5).

                                                                                                                                                        Cash
 Description\Insured\Last Four Digits of Policy Number\Beneficiary(if child, initials only)                                                             Value
 -NONE-



Schedule C-1 - Property Claimed as Exempt - 3/2016
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                                                                          35

            6. NCGS 1C-1601(a)(7) PROFESSIONALLY PRESCRIBED HEALTH AIDS (For Debtor or Debtor's Dependents, no limit on value).

 Description
 -NONE-

        7. NCGS 1C-1601(a)(8) COMPENSATION FOR PERSONAL INJURY, INCLUDING COMPENSATION FROM PRIVATE DISABILITY
POLICIES OR ANNUITIES, OR COMPENSATION FOR DEATH OF A PERSON UPON WHOM THE DEBTOR WAS DEPENDENT FOR SUPPORT.
COMPENSATION NOT EXEMPT FROM RELATED LEGAL, HEALTH OR FUNERAL EXPENSE.

 Description AND Source of Compensation, Including Name (If child, initials only) & Last Four Digits of Account Number of any Disability Policy/Annuity
 -NONE-

         8. NCGS 1C-1601(a)(2) ANY PROPERTY (Debtor's aggregate interest in any property is not to exceed $5,000 in value of any unused
exemption amount to which the debtor is entitled under NCGS 1C-1601(a)(1)).

                                               Owner
                                               (D1)Debtor 1
 Description of Property                Market (D2)Debtor 2 Lien                             Amount                Net       Value Claimed as Exempt
 and Address                             Value (J)Joint     Holder                            of Lien            Value Pursuant to NCGS 1C-1601(a)(2)
 -NONE-

                                                                     VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(2): $                          0.00

          9. NCGS 1C-1601(a)(9) and 11 U.S.C. § 522 INDIVIDUAL RETIREMENT PLANS & RETIREMENT FUNDS, as defined in the Internal
Revenue Code, and any plan treated in the same manner as an individual retirement plan, including individual retirement accounts and Roth retirement
accounts as described in §§ 408(a) and 408A of the Internal Revenue Code, individual retirement annuities as described in § 408(b) of the Internal
Revenue Code, accounts established as part of a trust described in § 408(c) of the Internal Revenue Code, and funds in an account exempt from
taxation under § 401, 403, 408, 408A, 414, 457, or 510(a) of the Internal Revenue Code. For purposes of this subdivision, "Internal Revenue Code"
means Code as defined in G.S. 105-228.90.

 Type of Account\Location of Account\Last Four Digits of Account Number
 -NONE-

           10. NCGS 1C-1601(a)(10) FUNDS IN A COLLEGE SAVINGS PLAN, as qualified under § 529 of the Internal Revenue Code, and that are not
otherwise excluded from the estate pursuant to 11 U.S.C. §§ 541(b)(5)-(6), (e), not to exceed a cumulative limit of $25,000. If funds were placed in a
college savings plan within the 12 months prior to filing, the contributions must have been made in the ordinary course of the debtor's financial affairs
and must have been consistent with the debtor's past pattern of contributions. The exemption applies to funds for a child of the debtor that will actually be
used for the child's college or university expenses.

 College Savings Plan\Last Four Digits of Account Number\Value\Initials of Child Beneficiary
 -NONE-

        11. NCGS 1C-1601(a)(11) RETIREMENT BENEFITS UNDER THE RETIREMENT PLANS OF OTHER STATES AND GOVERNMENTAL
UNITS OF OTHER STATES (The debtor's interest is exempt only to the extent that these benefits are exempt under the laws of the state or
governmental unit under which the benefit plan is established).

 Name of Retirement Plan\State Governmental Unit\Last Four Digits of Identifying Number
 -NONE-

         12. NCGS 1C-1601(a)(12) ALIMONY, SUPPORT, SEPARATE MAINTENANCE, AND CHILD SUPPORT PAYMENTS OR FUNDS THAT
HAVE BEEN RECEIVED OR TO WHICH THE DEBTOR IS ENTITLED (The debtor's interest is exempt to the extent the payments or funds are
reasonably necessary for the support of the debtor or any dependent of the debtor).

 Type of Support\Amount\Location of Funds
 -NONE-

         13. TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522 and the law of the State of
North Carolina pertaining to property held as tenants by the entirety.

 Description of                                 Market Lien                                                        Amount                                Net
 Property and Address                            Value Holder                                                       of Lien                            Value
 -NONE-

                                                                                                   VALUE CLAIMED AS EXEMPT: $                          0.00

Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                    Page 2
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                                                                          35

            14. NORTH CAROLINA PENSION FUND EXEMPTIONS

           -NONE-

            15. OTHER EXEMPTIONS CLAIMED UNDER LAWS OF THE STATE OF NORTH CAROLINA

           -NONE-

            16. FEDERAL PENSION FUND EXEMPTIONS

           -NONE-

            17. OTHER EXEMPTIONS CLAIMED UNDER NONBANKRUPTCY FEDERAL LAW

           -NONE-

            18. RECENT PURCHASES

            (a). List tangible personal property purchased by the debtor within ninety (90) days of the filing of the bankruptcy petition.

                                                                       Market Lien                                                   Amount                   Net
 Description                                                            Value Holder                                                  of Lien               Value
 -NONE-

          (b). List any tangible personal property from 18(a) that is directly traceable to the liquidation or conversion of property that may be exempt and
that was not acquired by transferring or using additional property.

 Description of Replacement Property                                 Description of Property Liquidated or Converted that May Be Exempt



            19. The debtor's property is subject to the following claims:

 a.          Of the United States or its agencies as provided by federal law.
 b.          Of the State of North Carolina or its subdivisions for taxes, appearance bonds or fiduciary bonds;
 c.          Of a lien by a laborer for work done and performed for the person claiming the exemption, but only as to the specific property affected.
 d.          Of a lien by a mechanic for work done on the premises, but only as to the specific property affected.
 e.          For payment of obligations contracted for the purchase of specific real property affected.
 f.          For contractual security interests in specific property affected; provided, that the exemptions shall apply to the debtor's household goods
             notwithstanding any contract for a nonpossessory, nonpurchase money security interest in any such goods.
 g.          For statutory liens, on the specific property affected, other than judicial liens.
 h.          For child support, alimony or distributive award order pursuant to Chapter 50 of the General Statutes of North Carolina.
 i.          For criminal restitution orders docketed as civil judgments pursuant to G.S. 15A-1340.38.
 j.          Debts of a kind specified in 11 U.S.C. § 523(a)(1) (certain taxes), (5) (domestic support obligations).
 k.          Debts of a kind specified in 11 U.S.C. § 522(c).

                                         Nature of                          Amount of Description of                                   Value                 Net
 Claimant                                Claim                                 Claim Property                                     of Property              Value
 Vend Lease Company                                                         Unknown Cash register                                  Unknown            Unknown

         None of the property listed in paragraph 18(a), except qualified replacement property under 18(b), has been included in this claim of
exemptions.


            None of the claims listed in paragraph 19 is subject to this claim of exemptions.


          I declare that to the extent any exemptions I have claimed appear on its face to exceed the amount allowed by the applicable statute, I claim
only the maximum amount allowed by statute.




Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                         Page 3
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                                    UNSWORN DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF INDIVIDUAL
                                               TO SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

          I,    Bryan Flores       , declare under penalty of perjury that I have read the foregoing Schedule C-1 - Property Claimed as Exempt,
consisting of 4 sheets, and that they are true and correct to the best of my knowledge, information and belief.




 Executed on: December 4, 2020                                               /s/ Bryan Flores
                                                                             Bryan Flores
                                                                                                               Debtor




Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                 Page 4
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         Case 20-03662-5-SWH                             Doc 36 Filed 12/04/20 Entered 12/04/20 14:34:48                                       Page 14 of
                                                                          35
 Fill in this information to identify the case:

 Debtor name         Don Betos Tacos-Raleigh Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)             20-03662-5
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   ASSN Company                                   Describe debtor's property that is subject to a lien                     Unknown                       $0.00
       Creditor's Name                                Any & All Assets
       Attn: Managing Agent
       PO Box 2576
       Springfield, IL 62708
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       First Data Merchant Cash
 2.2                                                  Describe debtor's property that is subject to a lien                     Unknown                       $0.00
       Advance
       Creditor's Name                                Any & All Credit Card Receivables
       Attn: Managing Agent
       4000 Coral Ridge Dr.
       Coral Springs, FL 33065
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 4
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                                                                          35
 Debtor       Don Betos Tacos-Raleigh Inc.                                                            Case number (if known)     20-03662-5
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       First Data Merchant Services,
 2.3                                                                                                                            Unknown                 $0.00
       LLC                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                Credit card receivables
       Attn: Managing Agent
       4000 Coral Ridge Dr.
       Coral Springs, FL 33065
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   LEAF Capital Funding, LLC                      Describe debtor's property that is subject to a lien                      Unknown                 $0.00
       Creditor's Name                                Cash Register
       Attn: Managing Agent
       8100 Sandpiper Circile, Ste
       300
       Baltimore, MD 21236
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   National Funding, Inc.                         Describe debtor's property that is subject to a lien                     $85,738.51               $0.00
       Creditor's Name                                Any & All Assets
       Attn: Managing Agent
       9820 Towne Ctr Dr, Ste 200
       San Diego, CA 92121
       Creditor's mailing address                     Describe the lien




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 4
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          Case 20-03662-5-SWH                            Doc 36 Filed 12/04/20 Entered 12/04/20 14:34:48                                    Page 16 of
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 Debtor       Don Betos Tacos-Raleigh Inc.                                                            Case number (if known)   20-03662-5
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   US Foods, Inc.                                 Describe debtor's property that is subject to a lien                     Unknown                $0.00
       Creditor's Name                                Any & All Assets
       Attn: Managing Agent
       1500 NC Hwy 39
       Zebulon, NC 27597
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   Vend Lease Company                             Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                Cash register
       Attn: Managing Agent
       8100 Sandpiper Circile, Ste
       300
       Baltimore, MD 21236
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 4
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                                                                          35
 Debtor       Don Betos Tacos-Raleigh Inc.                                                      Case number (if known)         20-03662-5
              Name



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $85,738.51

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Corporation Service Company
        Attn: Managing Agent                                                                              Line   2.1
        801 Adlai Stevenson Drive
        Springfield, IL 62703

        Corporation Service Company
        Attn: Managing Agent                                                                              Line   2.2
        801 Adlai Stevenson Drive
        Springfield, IL 62703

        Corporation Service Company
        Attn: Managing Agent                                                                              Line   2.5
        801 Adlai Stevenson Drive
        Springfield, IL 62703

        Interstate Cash Register
        Attn: Managing Agent                                                                              Line   2.7
        430 N. First Ave.
        Knightdale, NC 27545

        Lien Solutions
        Attn: Managing Agent                                                                              Line   2.7
        PO Box 29071
        Glendale, CA 91209-9071

        National Funding
        Attn: Jennifer E. Duty                                                                            Line   2.5
        9820 Towne Ctr Dr, Ste 200
        San Diego, CA 92121

        National Funding
        Attn: James E. Hawley                                                                             Line   2.5
        9820 Towne Ctr Dr, Ste 200
        San Diego, CA 92121

        National Funding
        Attn: Tara Muren                                                                                  Line   2.5
        9820 Towne Ctr Dr, Ste 200
        San Diego, CA 92121

        NCS UCC Services Group
        Attn: Managing Agent                                                                              Line   2.6
        PO Box 24101
        Cleveland, OH 44124




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 4
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                                                                          35
 Fill in this information to identify the case:

 Debtor name         Don Betos Tacos-Raleigh Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)           20-03662-5
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $0.00      $0.00
           Internal Revenue Service                                  Check all that apply.
           Attn: Managing Agent                                         Contingent
           PO Box 7346                                                  Unliquidated
           Philadelphia, PA 19101-7346                                  Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Notice Purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $42,089.16         $42,089.16
           NC Dept. of Revenue                                       Check all that apply.
           Attn: Bankruptcy Unit                                        Contingent
           PO Box 1168                                                  Unliquidated
           Raleigh, NC 27602-1168                                       Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Sales & Use Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 3
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          Case 20-03662-5-SWH                            Doc 36 Filed 12/04/20 Entered 12/04/20 14:34:48                                             Page 19 of
                                                                          35
 Debtor       Don Betos Tacos-Raleigh Inc.                                                            Case number (if known)            20-03662-5
              Name

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,000.00
           Capital One                                                          Contingent
           Attn: Managing Agent                                                 Unliquidated
           PO Box 30285                                                         Disputed
           Salt Lake City, UT 84130
                                                                             Basis for the claim:    Credit Card
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,500.00
           Chase                                                                Contingent
           Attn: Managing Agent                                                 Unliquidated
           PO Box 15298                                                         Disputed
           Wilmington, DE 19886
                                                                             Basis for the claim:    Credit Card
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               Unknown
           Kapitus Servicing                                                    Contingent
           Attn: Managing Agent                                                 Unliquidated
           2500 Wilson Blvd, Ste. 350                                           Disputed
           Arlington, VA 22201
                                                                             Basis for the claim:    Loan
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,000.00
           La Esquina Latina Inc.                                               Contingent
           Attn: Managing Agent                                                 Unliquidated
           421 Chapanoke Rd Ste 158                                             Disputed
           Raleigh, NC 27603
                                                                             Basis for the claim:    Fees for services
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $25,000.00
           On Deck Capital                                                      Contingent
           Attn: Managing Agent                                                 Unliquidated
           901 N. Stuart St., Ste. 700                                          Disputed
           Arlington, VA 22203
                                                                             Basis for the claim:    Loan
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $40,000.00
           Rapid Advance                                                        Contingent
           Attn: Managing Agent                                                 Unliquidated
           4500 EastWest Hwy, 6th Fl                                            Disputed
           Bethesda, MD 20814
                                                                             Basis for the claim:    Loan
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $600.00
           Wells Fargo                                                          Contingent
           Attn: Managing Agent                                                 Unliquidated
           101 N. Phillips Ave.                                                 Disputed
           Sioux Falls, SD 57104
                                                                             Basis for the claim:    Credit Card
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 3
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                                                                          35
 Debtor       Don Betos Tacos-Raleigh Inc.                                                         Case number (if known)         20-03662-5
              Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any
 4.1       Zwicker & Associates
           Attn: Jessica Moreau                                                                   Line     3.5
           PO Box 481918
                                                                                                         Not listed. Explain
           Charlotte, NC 28269


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.         $                     42,089.16
 5b. Total claims from Part 2                                                                        5b.    +    $                     74,100.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.         $                      116,189.16




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 3
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                                                                          35
 Fill in this information to identify the case:

 Debtor name         Don Betos Tacos-Raleigh Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         20-03662-5
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.        State what the contract or                   Equipment lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          NLS Equipment Finance
                                                                                    Attn: Managing Agent
             List the contract number of any                                        1333 Burr Ridge Parkway
                   government contract                                              Burr Ridge, IL 60527


 2.2.        State what the contract or                   Commercial Lease
             lease is for and the nature of               5 year lease
             the debtor's interest                        $2,900.00 per month

                  State the term remaining                                          TK Desco, LLC
                                                                                    Attn: Managing Agent
             List the contract number of any                                        103 Rothschild Place
                   government contract                                              Cary, NC 27511




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                                                                          35
 Fill in this information to identify the case:

 Debtor name         Don Betos Tacos-Raleigh Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         20-03662-5
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Bryan Flores                      501 South Lombard Street                          National Funding, Inc.             D   2.5
                                               Clayton, NC 27520                                                                    E/F
                                                                                                                                    G




    2.2      Bryan Flores                      501 South Lombard Street                          On Deck Capital                    D
                                               Clayton, NC 27520                                                                    E/F       3.5
                                                                                                                                    G




    2.3      Bryan Flores                      501 South Lombard Street                          LEAF Capital Funding,              D   2.4
                                               Clayton, NC 27520                                 LLC                                E/F
                                                                                                                                    G




Official Form 206H                                                        Schedule H: Your Codebtors                                          Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Don Betos Tacos-Raleigh Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         20-03662-5
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                   Unknown
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $1,177,601.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,003,999.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Concept Food Service                                        8/19/20-11/16                      $8,710.09          Secured debt
               2102 Tobacco Rd.                                            /20                                                   Unsecured loan repayments
               Durham, NC 27701
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.2.
               Long Beverage                                               8/19/20-11/16                    $10,515.09           Secured debt
               10500 World Trade Blvd.                                     /20                                                   Unsecured loan repayments
               Raleigh, NC 27617
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.3.
               Restaurant Depot                                            8/19/20-11/16                      $7,608.47          Secured debt
               3901 Gateway Centre Blvd                                    /20                                                   Unsecured loan repayments
               Morrisville, NC 27560
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.4.
               The Family Produce, Inc.                                    8/19/20-11/16                    $12,055.23           Secured debt
               421 Chapanoke Rd                                            /20                                                   Unsecured loan repayments
               #151
                                                                                                                                 Suppliers or vendors
               Raleigh, NC 27603
                                                                                                                                 Services
                                                                                                                                 Other


       3.5.
               NC Dept. of Revenue                                         8/19/20-11/16                    $20,142.79           Secured debt
               PO Box 1168                                                 /20                                                   Unsecured loan repayments
               Raleigh, NC 27602-1168                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Taxes


       3.6.
               Prime Meats                                                 8/19/20-11/16                    $14,478.91           Secured debt
               Attn: Managing Agent                                        /20                                                   Unsecured loan repayments
               2150 Boggs Rd NW Ste 500
                                                                                                                                 Suppliers or vendors
               Duluth, GA 30096
                                                                                                                                 Services
                                                                                                                                 Other


       3.7.
               Sams Club                                                   8/19/20-11/16                      $7,884.98          Secured debt
               2537 S Saunders Street                                      /20                                                   Unsecured loan repayments
               Raleigh, NC 27603                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Food and supplies


       3.8.
               US Foods, Inc.                                              8/19/20-11/16                      $7,083.65          Secured debt
               Attn: Managing Agent                                        /20                                                   Unsecured loan repayments
               1500 NC Hwy 39
                                                                                                                                 Suppliers or vendors
               Zebulon, NC 27597
                                                                                                                                 Services
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.9.
               TK Desco, LLC                                               8/19/20-11/16                      $8,700.00               Secured debt
               Attn: Managing Agent                                        /20                                                        Unsecured loan repayments
               103 Rothschild Place                                                                                                   Suppliers or vendors
               Cary, NC 27511                                                                                                         Services
                                                                                                                                      Other Rent



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Bryan Flores                                                11/17/2019-1                     $27,200.00           Employee Compensation
               501 South Lombard Street                                    1/17/2020
               Clayton, NC 27520
               Owner

       4.2.    Bryan Flores                                                11/17/2019-1                         $930.00          Owner Equity Distributions
               501 South Lombard Street                                    1/17/2020
               Clayton, NC 27520
               Owner

       4.3.    Bryan Flores                                                11/17/2019-1                     $10,828.64           Equity Pay (Loans)
               501 South Lombard Street                                    1/17/2020
               Clayton, NC 27520
               Owner

       4.4.    Osiel Flores                                                11/17/2019-1                       $3,696.00          Distributions
                                                                           1/17/2020
               Father of Debtor's owner

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.


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           None.

               Case title                                        Nature of case               Court or agency's name and           Status of case
               Case number                                                                    address
       7.1.    On Deck Capital, Inc. v. Don                      Civil Action                 Wake County                               Pending
               Betos Tacos-Raleigh, Inc. and                                                                                            On appeal
               Bryan Flores
                                                                                                                                        Concluded
               20CVD9451

       7.2.    National Funding, Inc. v. Don                     Civil Action                 Orange Co California                      Pending
               Betos-Raleigh, Inc. dba Don                                                                                              On appeal
               Betos Tacos and Bryan Flores
                                                                                                                                        Concluded
               30-2020-01160515-CU-BU-CJC

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss             Value of property
       how the loss occurred                                                                                                                                     lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Cash theft                                                                                                                                          $3,000.00


 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




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                 Who was paid or who received                        If not money, describe any property transferred           Dates                Total amount or
                 the transfer?                                                                                                                               value
                 Address
       11.1.     Janvier Law Firm, PLLC
                 311 East Edenton Street
                 Raleigh, NC 27601                                   Attorney Fees                                             9/23/2020                $10,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers               Total amount or
                                                                                                                      were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer              Total amount or
                Address                                          payments received or debts paid in exchange             was made                            value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services              If debtor provides meals
                                                                 the debtor provides                                                       and housing, number of
                                                                                                                                           patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

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17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was            Last balance
              Address                                            account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
       18.1.     Wells Fargo                                     XXXX-5429                   Checking                 1/2020                               $0.00
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.
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      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       La Esquina Latina                                                                                                          1/1/2016-Present
                    421 Chapanoke Rd Ste 158
                    Raleigh, NC 27603

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None




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       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 Bryan Flores
       .    501 South Lombard Street                                                                                     11/17/2019-11/     Employee
               Clayton, NC 27520                                 $27,200.00                                              17/2020            compensation - W2

               Relationship to debtor
               Owner


       30.2 Bryan Flores
       .    501 South Lombard Street                                                                                     11/17/2019-11/     Owner equity
               Clayton, NC 27520                                 $930.00                                                 17/2020            distributions

               Relationship to debtor
               Owner


       30.3 Osiel Flores                                                                                                 11/17/2019-11/
       .                                                         3,696.00                                                17/2020            Distributions

               Relationship to debtor
               Father of Debtor's owner




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               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.4 Bryan Flores
       .    501 South Lombard Street                                                                                     11/17/2019-11/
               Clayton, NC 27520                                 $10,828.64                                              17/2020            Equity pay (loans)

               Relationship to debtor
               Owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         December 4, 2020

 /s/ Bryan Flores                                                       Bryan Flores
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      Don Betos Tacos-Raleigh Inc.                                                                              Case No.       20-03662-5
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                               Security Class Number of Securities                       Kind of Interest
 business of holder
 Bryan Flores                                                                                                                    100%
 501 South Lombard Street
 Clayton, NC 27520


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date December 4, 2020                                                         Signature /s/ Bryan Flores
                                                                                            Bryan Flores

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      Don Betos Tacos-Raleigh Inc.                                                                  Case No.   20-03662-5
                                                                                     Debtor(s)            Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       December 4, 2020                                             /s/ Bryan Flores
                                                                          Bryan Flores/President
                                                                          Signer/Title




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ASSN Company                             Kapitus Servicing                 NCS UCC Services Group
Attn: Managing Agent                     Attn: Managing Agent              Attn: Managing Agent
PO Box 2576                              2500 Wilson Blvd, Ste. 350        PO Box 24101
Springfield, IL 62708                    Arlington, VA 22201               Cleveland, OH 44124



Bryan Flores                             La Esquina Latina Inc.            NLS Equipment Finance
501 South Lombard Street                 Attn: Managing Agent              Attn: Managing Agent
Clayton, NC 27520                        421 Chapanoke Rd Ste 158          1333 Burr Ridge Parkway
                                         Raleigh, NC 27603                 Burr Ridge, IL 60527



Capital One                              LEAF Capital Funding, LLC         On Deck Capital
Attn: Managing Agent                     Attn: Managing Agent              Attn: Managing Agent
PO Box 30285                             8100 Sandpiper Circile, Ste 300   901 N. Stuart St., Ste. 700
Salt Lake City, UT 84130                 Baltimore, MD 21236               Arlington, VA 22203



Chase                                    Lien Solutions                    Rapid Advance
Attn: Managing Agent                     Attn: Managing Agent              Attn: Managing Agent
PO Box 15298                             PO Box 29071                      4500 EastWest Hwy, 6th Fl
Wilmington, DE 19886                     Glendale, CA 91209-9071           Bethesda, MD 20814



Corporation Service Company              National Funding                  TK Desco, LLC
Attn: Managing Agent                     Attn: Jennifer E. Duty            Attn: Managing Agent
801 Adlai Stevenson Drive                9820 Towne Ctr Dr, Ste 200        103 Rothschild Place
Springfield, IL 62703                    San Diego, CA 92121               Cary, NC 27511



First Data Merchant Cash Advance         National Funding                  US Foods, Inc.
Attn: Managing Agent                     Attn: Tara Muren                  Attn: Managing Agent
4000 Coral Ridge Dr.                     9820 Towne Ctr Dr, Ste 200        1500 NC Hwy 39
Coral Springs, FL 33065                  San Diego, CA 92121               Zebulon, NC 27597



First Data Merchant Services, LLC        National Funding                  Vend Lease Company
Attn: Managing Agent                     Attn: James E. Hawley             Attn: Managing Agent
4000 Coral Ridge Dr.                     9820 Towne Ctr Dr, Ste 200        8100 Sandpiper Circile, Ste 300
Coral Springs, FL 33065                  San Diego, CA 92121               Baltimore, MD 21236



Internal Revenue Service                 National Funding, Inc.            Wells Fargo
Attn: Managing Agent                     Attn: Managing Agent              Attn: Managing Agent
PO Box 7346                              9820 Towne Ctr Dr, Ste 200        101 N. Phillips Ave.
Philadelphia, PA 19101-7346              San Diego, CA 92121               Sioux Falls, SD 57104



Interstate Cash Register                 NC Dept. of Revenue               Zwicker & Associates
Attn: Managing Agent                     Attn: Bankruptcy Unit             Attn: Jessica Moreau
430 N. First Ave.                        PO Box 1168                       PO Box 481918
Knightdale, NC 27545                     Raleigh, NC 27602-1168            Charlotte, NC 28269
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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      Don Betos Tacos-Raleigh Inc.                                                                    Case No.   20-03662-5
                                                                                    Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Don Betos Tacos-Raleigh Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 December 4, 2020                                                       /s/ Samantha Y. Moore
 Date                                                                   Samantha Y. Moore 40202
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for Don Betos Tacos-Raleigh Inc.
                                                                        Janvier Law Firm, PLLC
                                                                        311 East Edenton Street
                                                                        Raleigh, NC 27601
                                                                        919-582-2323 Fax:866-809-2379




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